                                3:23-cv-03299-MMM-JEH # 1-7
Adele D. Nicholas Mail - Records Office Imposing Incorrect Sentence         Filed: 10/19/23        Page 1 of 3                 10/16/23, 11:53 AM




                                                                                  Adele Nicholas <a                                          >



 Records Office Imposing Incorrect Sentence
 Fanning, Robert L. <R                                                                                     Wed, Oct 4, 2023 at 10:16 AM
 To: Adele Nicholas <                                             >
 Cc: "Newman, Sarah" <


    I have confirmed that it is the Rhinehart decision dictating the MSR term.




    From: Adele Nicholas <a
    Sent: Wednesday, October 4, 2023 9:16 AM
    To: Fanning, Robert L. <R                           >
    Cc: Newman, Sarah <S                           >
    Subject: Re: [External] Records Office Imposing Incorrect Sentence



    Thank you.



    On Wed, Oct 4, 2023 at 8:59 AM Fanning, Robert L. <R                                          > wrote:

       I will check but it is likely the Rhinehart decision dictating the 3years to life.




       From: Adele Nicholas <a
       Sent: Tuesday, October 3, 2023 10:13 AM
       To: Fanning, Robert L. <R
       Cc: Newman, Sarah <Sa                          >
       Subject: Re: [External] Records Office Imposing Incorrect Sentence



       Mr. Fanning,

       I appreciate your sharing this document. On the face of the document, it states that Mr. Brozak has two years of
       MSR. Did the Department obtain a court order stating that Mr. Brozak has three years to life of MSR? Or is the
       Department assuming that three years to life was the required term under People v. Rinehart, and therefore
       changing it within the IDOC's records to three to life? If there is an amended court order reflecting a term of three to
       life on MSR, can you share it with me?

       Thank you,

       Adele




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Adele D. Nicholas Mail - Records Office Imposing Incorrect Sentence         Filed: 10/19/23        Page 2 of 3                     10/16/23, 11:53 AM




       On Fri, Sep 29, 2023 at 10:58 AM Adele Nicholas <a                                           > wrote:

           Thank you for sharing this documentation with me. I will review with my client.



           On Fri, Sep 29, 2023 at 8:51 AM Fanning, Robert L. <R                                         > wrote:

              Adele –



              The Department received the attached sentencing orders when your client was admitted to IDOC. The
              sentencing order indicates your client was sentenced to confinement in the IDOC for Criminal Sexual Assault.
              If this was a mistaken sentencing order, then I believe you need to go back to the Court and get it corrected.
              But, this is the order that we have for your client.



              Bob




              From: Adele Nicholas <ad
              Sent: Thursday, September 28, 2023 1:22 PM
              To: Fanning, Robert L. <Ro
              Cc: Newman, Sarah <S
              Subject: [External] Records Office Imposing Incorrect Sentence



              Dear Mr. Fanning,



              I'm an attorney in Chicago who is representing Mr. Brody Brozak (DOC Number Y27148) pro bono in efforts to
              resolve Graham Correctional Center's imposition of an incorrect MSR term on him. I would like to resolve the
              matter without litigation if possible and am hopeful that you can assist with this matter.



              Relevant Facts



              In the Marshall County case 15-CF-27, Mr. Brozak was charged with Criminal Sexual Assault and Criminal
              Sexual Abuse. The charges of criminal sexual assault were dismissed on the state's motion, and Mr. Brozak
              pleaded guilty to criminal sexual abuse. (See attached Dispositions from 15-CF-27; and Feb. 24, 2016
              charging documents, plea and sentencing order).



              While Mr. Brozak was on probation, he was charged in the case 17-CF-29 with Criminal Sexual Abuse and
              Violation of an Order of Protection for having contact with the same victim. His probation was revoked and he
              was sentenced to serve five years in the IDOC. (See attached Petition to Revoke Probation from 15-CF-27
              and Revocation Order). He also pleaded guilty to criminal sexual abuse in 17-CF-29. (See attached 1-17-18


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              order and dispositions). This term was to run concurrent with the sentence in 15-CF-27 (see 1-17-18
              sentencing order).



              In neither case was Mr. Brozak convicted of criminal sexual assault. Those charges were dismissed on the
              state's motion.



              I received the attached documents from the Marshall County State's Attorney Patrick J. Murphy (Patrick J
              Murphy, Marshall County State's Attorney, 122 N. Prairie Street, Lacon, IL 61540, Tel: (309) 246-2028). Mr.
              Murphy concurs that Mr. Brozak has not been convicted of Criminal Sexual Assault.



              As you know, a conviction for Criminal Sexual Abuse requires the imposition of a two-year term of Mandatory
              Supervised Release, while a conviction for Criminal Sexual Assault requires the imposition of an
              indeterminate tern of MSR of "three years to natural life." See 730 ILCS 5/5-8-1. While the sentencing orders
              are silent as to the length of Mr. Brozak's MSR, the correct term is dictated by the sentencing statute.



              The records office at Graham Correctional Center insists, without lawful basis, that Mr. Brozak was convicted
              of criminal sexual assault and is imposing a three-to-life term of MSR upon him. (See IDOC Inmate Search
              attached.) They are incorrect with regard to both Mr. Brozak's conviction and the length of time he is required
              to be on MSR.



              I have attempted to provide the attached information directly to the Records Office at Graham Correctional
              Center, but an individual named "Jen" (who refused to provide her last name but stated she was the records
              office supervisor) would not accept these documents, nor would she tell me how to provide them to someone
              who could conduct the necessary review.



              I am requesting that the IDOC correct Mr. Brozak's MSR term and its records to reflect the conviction and
              sentence he actually received.



              Thank you for your assistance. I look forward to your prompt response.



              I've copied Sarah Newman from the AG's office simply because I am representing clients in civil litigation
              against IDOC. Although this correspondence is unrelated to pending litigation, I did not want to communicate
              with you directly without letting her know.



              Thank you,

              Adele Nicholas




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